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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
                                                          :
SARAH PALIN                                                   No. 17 Civ. 4853 (JSR)
                                                          :
                               Plaintiff,                 :
                                                          :   ECF Case
                                                          :
                       -against-                          :
                                                          :
                                                          :
THE NEW YORK TIMES COMPANY and JAMES                      :
BENNET,                                                   :
                               Defendants.                :

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                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that, pursuant to the Amended Civil Case Management Plan

entered in this case on March 18, 2020, defendants The New York Times Company and James

Bennet will file a motion pursuant to Fed. R. Civ. Proc. 56 for summary judgment on the basis

that no reasonable jury could find that the statements at issue in this case were published with

actual malice; defendants shall file their moving papers on June 19, 2020, plaintiff shall file her

answering papers on or before July 10, 2020, and defendants shall file their reply, if any, on or

before July 17, 2020. If necessary, oral argument on the motion will be held before the

Honorable Jed S. Rakoff, United States District Judge for the Southern District of New York, at

the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, Courtroom 14B, New

York 10007 on July 27, 2020 at 2 pm.
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Dated: New York, New York          Respectfully submitted,
       June 12, 2020
                                   BALLARD SPAHR LLP

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